                   United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 23-5062                                                  September Term, 2023
                                                                        1:22-cv-02292-CKK
                                                    Filed On: January 26, 2024 [2037631]
United States of America,

                Appellee

         v.

Peter K. Navarro,

                Appellant

                                          ORDER

       It is ORDERED, on the court's own motion, that this case be scheduled for oral
argument on March 15, 2024, at 9:30 A.M. The composition of the argument panel will
usually be revealed thirty days prior to the date of oral argument on the court's web site
at www.cadc.uscourts.gov.

         The time and date of oral argument will not change absent further order of the
Court.

         A separate order will be issued regarding the allocation of time for argument.

                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                   BY:     /s/
                                                           Michael C. McGrail
                                                           Deputy Clerk

The following forms and notices are available on the Court's website:

         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
